






Opinion issued November 29, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00482-CV






MARY HENDRIX, INDIVIDUALLY AND d/b/a INTEGRATED HOME
HEALTHCARE,  Appellant


V.


CHARLENE TAYLOR d/b/a ALPHA COMPLIANCE CONSULTING, 
Appellee






On Appeal from the County Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 872078






MEMORANDUM OPINION	Appellant Mary Hendrix has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Mary Hendrix did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.


